      Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 1 of 50
                                                                       United States District Court
                                                                         Southern District of Texas
                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS                     ENTERED
                              HOUSTON DIVISION                           February 05, 2021
                                                                         Nathan Ochsner, Clerk
MICHAEL GREGG,                              §
                                            §
       Plaintiff,                           §
                                            §
                                            §
v.                                          §     CIVIL ACTION NO. H-18-4822
                                            §
THE CITY OF HOUSTON, TEXAS,                 §
                                            §
                    Defendant.              §


                       J:1.:1:EMORANDUM OPINION AND ORDER

       Plaintiff, Michael Gregg ("Plaintiff" or "Gregg"), brings this

action against defendant,           the City of Houston          ("Defendant" or

"COH"), for engaging in employment discrimination in violation of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§ 2000 et seq., and for violating rights guaranteed by the First

and    Fourteenth    Amendments      to     the    United   States   Constitution

pursuant to 42 U.S.C.           §   1983.         Pending   before the court is

Defendant's Motion for Summary Judgment ("Defendant's MSJ") (Docket

Entry No. 29).       For the reasons set forth below, the Defendant's

MSJ will be denied.



                           I.    Factual Background1

       The summary judgment evidence establishes that Gregg is a male

law enforcement officer who has been employed by the Houston Police


      The factual background is derived from the Statement of
        1

Undisputed Facts in Defendant's MSJ, Docket Entry No. 29, pp. 11-
15, the Statement of Facts in Plaintiff's Response to Defendant's
Motion for Summary Judgment ("Plaintiff's Response"), Docket Entry
No. 32, pp. 16-36, and other individually cited instruments
included in the summary judgment record. Page numbers for docket
entries in the record refer to the pagination inserted at the top
of the page by the court's electronic filing system.
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 2 of 50
Department      ("HPD")   since 2008.     In 2012, he transferred to the

Child Sexual Assault Unit ("CSAU") to work as an investigator.              In

August of 2014 Michelle McCormick ("McCormick") joined the CSAU as

an investigator.

      In August of 2014 Sergeant Jeanette Perales ("Perales") was

the CSAU's investigative supervisor, and Sergeant Shandra White was

the CSAU's administrative supervisor.

      McCormick regularly made comments with sexual content or

connotations. Perales held several meetings to remind CSAU members

that HPD policy prohibited sexual harassment.        On January 27, 2015,

Perales sent an email to CSAU members reminding them that sexual

harassment was not only inappropriate but also a violation of HPD

policy, listing examples of sexual harassment, and stating that

      [ e] rnployees who believe they are subjects of sexual
      harassment or who witness the same,             have the
      responsibility to report the conduct immediately in
      accordance with department policy pursuant to General
      Order 300-11. Although employees may utilize any of the
      reporting methods listed in General Order 300-11, the
      pref erred method for employees to report prohibited
      conduct is through the Employee Relations Section of the
      Alternative Dispute Resolution Office (ADR) . 2

General Order 300-11 addresses Discrimination,            Harassment,      and

Other Prohibited Conduct and bears an issue date of September 9,

2010. 3     On April 28, 2015, Sergeant Perales resent the same email

to CSAU members. 4


      Exhibit D to Defendant's MSJ, Docket Entry No. 29-4, p. 3.
      2

See also Exhibit 2, Attachment A to Plaintiff's Response, Docket
Entry No. 32-3, p. 30 (same).
      Exhibit 1, Attachment A to Plaintiff's Response, Docket Entry
      3

No. 32-1, pp. 1-22.
      4
          Exhibit 2, Attachment I to Plaintiff's Response, Docket Entry
                                                         (continued... )
                                        -2-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 3 of 50




     During a mandatory training held for CSAU members on September

27, 2016, Officer L. Donovan ("Donovan") took a picture of Officer

R. Kelley ("Kelley") with his eyes closed, and sent the picture by

text to others in attendance.         Kelley was sitting next to the

plaintiff who was also visible in the picture.           A few days later

plaintiff told Sergeant White that upon receiving the photograph of

Officer Kelley during the training, Officer McCormick enlarged the

section of the picture that showed plaintiff's crotch, called out

plaintiff while holding her phone up for all to see, and pointed at

plaintiff's crotch while making "ooh" and "ah" sounds. 5           Sergeant

White directed plaintiff to file a complaint against McCormick at

HPD's ADR office, which he did on October 3, 2016. 6

     Plaintiff's ADR complaint against McCormick was forwarded to

HPD' s Internal Affairs Division       ("IAD"), and almost immediately

both plaintiff and McCormick were given "no contact" orders. 7             On

October 6, 2016, the IAD investigator, H.A. Chavez ("Chavez"), sent


     4( •••continued)
No. 32-4, pp. 18-19.
     5
      Declaration of Michael Gregg ("Gregg Declaration"), pp. 8-9
�� 16-17, Exhibit 2 to Plaintiff's Response, Docket Entry No. 32-3,
pp. 9-10 �� 16-17. See also Plaintiff's ADR Complaint, Exhibit F
to Defendant's MSJ, Docket Entry No. 29-6, p. 4; and Investigation
Summary, p. 1, Exhibit H to Defendant's MSJ, Docket Entry No. 29-8,
p. 1.
     6
      Gregg Declaration at 9 � 17, Docket Entry No. 32-3, p. 10
� 17. See also Administrative Statement of Shandra White, Exhibit
E to Defendant's MSJ, Docket Entry No. 29-5, pp. 19-20.
     7
         Exhibit G to Defendants' MSJ, Docket Entry No. 29-7.
                                   -3-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 4 of 50




complaint notifications to McCormick and other members of the CSAU

notifying them that plaintiff had filed a complaint alleging sexual

harassment in which they had been involved or witnessed,                              and

ordering them not to discuss the incident with anyone other than

him and their own attorneys.            Chavez also advised them not to have

avoidable     contact     with     the    plaintiff       until     they      received

notification     that the investigation had been                  completed.8          In

addition    to   the    statement       that   plaintiff        provided,     the     IAD

investigation included administrative statements from at least

three sergeants and 14 other officers. 9                  On December 20,           2016,

Chavez issued a report recommending that charges against McCormick

be   sustained    for    "Prohibited       Workplace      Conduct"      and    "Sexual

Harassment" in violation of HPD General Order 300-11. 10

       On   February     8,   2017,      Chairman     of    the      Administrative

Disciplinary Committee,          M.A.    Dirden,   notified HPD's Chief,              Art

Acevedo, that "it is the Committee's opinion that discipline for

Officer     McCormick    falls    within       Category    E,     but   believe       the

discipline should be less than an indefinite suspension.                      The vote




      See Complaint Notifications sent to Officers McCormick,
       8

Donovan, Keys, Sanchez, and Sergeant Perales, Exhibit 1, Attachment
J to Plaintiff's Response, Docket Entry No. 35, pp. 2-6.

      See Officer Notification,
       9                           Exhibit 1,   Attachment                      J      to
Plaintiff's Response, Docket Entry No. 35, p. 24.

      Investigation Summary, p. 9, Exhibit H to Defendant's MSJ,
       10

Docket Entry No. 29-8, p. 10. See also Exhibit 1, Attachment J to
Plaintiff's Response, Docket Entry No. 35, pp. 29-33 (same).

                                         -4-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 5 of 50




for the recommendation of a multiple-day temporary suspension in

lieu of termination was unanimous."11        In March of 2017 McCormick

agreed to a seven day suspension for "fail [ ing]          to comply with

Houston Police Department rules and regulations regarding CONDUCT

AND AUTHORITY,"12 based on the fact that "[i]nvestigation revealed

that Officer McCormick failed to exercise sound judgment when she

made inappropriate comments while on-duty." 13

     On March 31, 2017, plaintiff filed a charge with the Equal

Employment Opportunity Commission         ("EEOC")   alleging that he was

sexually harassed by Officer McCormick and that he was retaliated

against for reporting the alleged harassment.14         Plaintiff alleged

inter alia that he is

     now considered to be a department "snitch" and most
     officers in the squad no longer want to work with me.
     According to Sgt. Roberson, one male officer has
     described me as a "bitch," and said I was "less than a
     man." Most of the members of the squad now avoid me, I
     am not welcome when they socialize or share lunch breaks.
     And when I need someone to go with me to interview an
     adult suspect, a witness, or a juvenile, my co-workers
     are just not available any more to go with me. I have
     had to do several interviews of adult suspects alone,


     11
      Letter to Chief Acevedo, Exhibit 1, Attachment                  J    to
Plaintiff's Response, Docket Entry No. 35, p. 37.
     12
      Agreed Seven-Day Suspension, p. 1, Exhibit I to Defendant's
MSJ, Docket Entry No. 29-9, p. 2. See also Employee Resume Report,
Exhibit J to Defendant's MSJ, Docket Entry No. 29-10.
     13
      Agreed Seven-Day Suspension, p. 2, Exhibit I to Defendant's
MSJ, Docket Entry Nos. 29-9, p. 3.

      Charge of Discrimination, Exhibit B to Defendant's MSJ,
     14

Docket Entry No. 29-2.

                                    -5-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 6 of 50




     which is not how we typically do these interviews. For
     safety reasons, we have always had two officers present
     when interviewing the adult suspects. 15

     On April 24,     2017,    Captain Angelo sent an email to his

lieutenants stating that "recent issues" prompted him to send the

email asking them to

     share with your respective sergeants and officers that
     whenever an investigator requests a second officer to
     assist with an interview/interrogation of a suspect, they
     are expected to assist the primary investigator.
     Although there is nothing that I have found in our SOP's
     which requires two officers to interview/interrogate
     suspects, this decision is left up to the individual
     investigator.

     However, what is not acceptable is for someone to request
     assistance from their fellow officer and they do not
     receive it. The overarching theme is the safety of our
     officers and not to put our personal differences ahead of
     our mission.    The work we do in S[pecial] V[ictims]
     D[ivision]   is   too   important   to   allow   whatever
     disagreements we may have with each other to take over
     and dictate who we will or will not help, and I cannot
     nor will not tolerate this behavior in SVD.           The
     overwhelming majority of our officers are doing what they
     are supposed to, however, due to recent issues it has
     become necessary for me to put this directive out. 16

     After filing his EEOC charge, plaintiff began seeing an HPD

psychologist who on May 31, 2017, recommended that he be placed on

light duty for 45 days.       The letter explained that




      Id. at pp. 2-3 'lf 10, Docket Entry No. 29-2, pp. 3-4 '.JI 10.
     15

See also Charge of Discrimination Second Supplement filed on
November 14, 2017, Exhibit 2, Attachment B to Plaintiff's Response,
Docket Entry No. 32-3, pp. 32-37.
      Email, Exhibit 2 Attachment D to Plaintiff's Response, Docket
     16

Entry No. 32-4, p. 4.
                                    -6-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 7 of 50




     [i]n the last several months he has continued to
     experience repeated exposure to chronic and pervasive
     stressors in his current work environment of which he has
     no control.   As a result, Officer Gregg has begun to
     exhibit symptoms related to critical incident stress of
     which may have a significant impact on his occupational
     functioning.    Although Officer Gregg is capable and
     competent to conduct his assigned work duties, his
     current affective and cognitive resources may be
     temporarily compromised, thereby having the potential to
     negatively impact his work productivity. 17

Based on the psychologist's recommendation, HPD reduced plaintiff's

caseload for 45 days beginning in June of 2017. 18

     On July 17, 2017, Captain Angelo wrote an email to Ann Spiegel

("Spiegel")   with        the   HPD   Chief's     legal   division   asking   that

plaintiff be transferred "if he cannot resume full duties and a

full caseload as a CSAU investigator." 19

     On   August     4,     2017,     plaintiff    met    with   Captain   Angelo,

Lieutenant Colburn,         and Sergeant Alvarez          to discuss his duty

status, and told his commanders that he was willing to try another

position and he identified three possibilities:                  Juvenile Crimes

Investigator, Crime Stoppers, and Vice Officer. 20 After the meeting



      Letter to Sergeant Shandra White from Staff Psychologist,
     17
Meagan N. Houston, and Police Administrator, Stephen Tate, Exhibit
L to Defendant's MSJ, Docket Entry No. 29-12.

      Letter to Sergeant Shandra White from Lieutenant John
     18

Colburn, Exhibit M to Defendant's MSJ, Docket Entry No. 29-13.
      See July 17, 2017, Email from David Angelo,
     19
                                                                      Exhibit 1,
Attachment E, Docket Entry No. 32-2, p. 11.
      Gregg Declaration, p. 18 '.JI 32, Exhibit 2 to Plaintiff's
     20

Response, Docket Entry No. 32-3, p. 19 '.JI 32.

                                         -7-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 8 of 50



Captain Angelo sent Spiegel an email stating that plaintiff was

willing to transfer to any one of three different divisions, and

that "[i]n the interest of both Officer Gregg and SVD divisional

operations, I am requesting Officer Gregg be transferred from SVD

sooner rather than later and he is on board with this decision." 21

Spiegel informed plaintiff's counsel that HPD wanted plaintiff to

dismiss his claims in exchange for a transfer. 22

     On September 8, 2017, Captain Angelo and Lieutenant Colburn

presented plaintiff with a letter signed by Assistant Chief Dobbins

informing him that he was being involuntarily transferred to HPD's

Juvenile Division effected September 9, 2017. 23              At the Juvenile

Division plaintiff was instructed to report to the Intake Unit

where he learned that he would no longer work the day shift Monday

through Friday with weekends off but,              instead,   would. work the

evening shift with days off during the week. 24           Because plaintiff

no longer held an investigative position, he stopped receiving

investigator pay, but because he no longer worked the day shift



      Exhibit 2, Attachment E to Plaintiff's Response, Docket Entry
     21

No. 32-2, p. 11.

      Declaration of Margaret A. Harris, pp. 1-2 CJICJI 5-6, and
     22

Attachments A and B thereto, Exhibit 3 to Plaintiff's Response,
Docket Entry No. 32-5, pp. 3-4 Cj[Cj[ 5-6, and pp. 6, 9-11.
      Exhibit N to Defendant's MSJ, Docket Entry No. 29-14. See
     23

also September 8, 2017, Email from Angelo to Dobbins and Spiegel
informing them that plaintiff had received notice of transfer,
Exhibit 1, Attachment G, Docket Entry No. 32-2, p. 17.

      Gregg Declaration, p. 24 CJ[ 44,
     24
                                               Exhibit 2 to Plaintiff's
Response, Docket Entry No. 32-3, p. 25       CJ[44.

                                   -8-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 9 of 50




with weekends off, he began receiving differential pay for working

the evening shift and weekend pay. 25        Plaintiff held his position

at the Juvenile Intake Unit until July of 2018 when he applied for

and received a voluntary transfer to sex offender registration. 26

     On October 20, 2017, plaintiff's lieutenant in the Juvenile

Division handed him an employee efficiency rating, also known as a

JPR, covering the prior six months during which he worked in the

CSAU, which was signed by his former supervisor, Sergeant Alvarez. n

The JPR stated that plaintiff was among the lowest performers in

the unit, that after receiving charges from the District Attorney's

Office, he did not file the warrants in a timely manner, and that

he displayed an inability to properly care for investigations by

mishandling witness statements. 28



                         II. Standard of Review

     Summary judgment is authorized if the movant establishes that

there is no genuine dispute about any material fact and the law

entitles it to judgment.        Fed.   R.   Civ.   P.   5 6.   Disputes about


      Oral Deposition of Michael Gregg ("Gregg
     25
                                                                Deposition"),
pp. 15:20-16:18, Docket Entry No. 29-1, pp. 5-6.
     26
          Id. at 18:2-17, Docket Entry No. 29-1, p. 7.

      Defendant's MSJ, Docket Entry No. 29, p. 14 (citing Exhibit
     27

P to Defendant's MSJ, Docket Entry No. 29-16).           See also
Plaintiff's Response, Docket Entry No. 32, pp. 35-36 (citing Gregg
Declaration, pp. 23-24, Exhibit 2, Docket Entry No. 32-3, pp. 24-
25, and Attachment R thereto).
     28
          Exhibit P to Defendant's MSJ, Docket Entry No. 29-16.

                                   -9-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 10 of 50




material facts are         "genuine"       if the evidence           is such that a

reasonable jury could return a verdict for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2511 (1986).                       The

Supreme Court has interpreted the plain language of Rule 56 to

mandate the entry of summary judgment "after adequate time for

discovery and upon motion, against a party who fails to make a

showing     sufficient     to   establish         the    existence    of   an   element

essential to that party's case, and on which that party will bear

the burden of proof at trial."                    Celotex Corp. v. Catrett, 106

S. Ct. 2548, 2552         (1986).     A party moving for summary judgment

"must    'demonstrate the absence of a genuine issue of material

fact,' but need not negate the elements of the nonmovant's case."

Little v. Liquid Air Corp., 37 F.3d 1069, 1075                       (5th Cir. 1994)

(en bane) (per curiam) (quoting Celotex, 106 S. Ct. at 2553). If

the moving party meets this burden, the nonmovant must go beyond

the pleadings and show by admissible evidence that facts exist over

which    there   is   a    genuine        issue    for    trial.                 Factual

controversies are to be resolved in favor of the nonmovant, "but

only when there is an actual controversy that is, when both parties

have submitted evidence of contradictory facts."                     Little, 37 F.3d

at 1075.    "[T]he court must draw all reasonable inferences in favor

of    the   nonmoving     party,      and     it    may     not    make    credibility

determinations      or    weigh     the    evidence."        Reeves       v.   Sanderson

Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).



                                           -10-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 11 of 50



                                III. Analysis

       The COH moves for summary judgment on all of plaintiff's

claims arguing that claims based on actions that occurred before

May 31, 2016, i.e., more than 300 days before plaintiff filed his

charge of discrimination with the EEOC,             are time-barred;       that

plaintiff cannot establish that he was subjected to a hostile work

environment based on sex; and that plaintiff cannot meet his burden

either to establish a prima facie case of retaliation or to rebut

defendant's legitimate, non-discriminatory reasons for the disputed

employment actions.29       Plaintiff responds that genuine issues of

material fact require a trial. 30



A.     Applicable Law

       1.      Title VII

       Title     VII protects individuals from discrimination by an

employer "because of such individual's race, color, religion, sex,

or national origin."            42 U.S.C.   §   2000e-2(a)(l).     Title      VII

prohibits both sexual harassment that creates a hostile working

environment, and retaliation for complaining of sexual harassment.

42 U.S.C.       § 2000e-3(a).     See University of Texas Southwestern

Medical Center v. Nassar, 133 S. Ct. 2517, 2522 (2013).



      Defendant's MSJ, Docket Entry No. 29. See also Defendant's
       29

Reply Supporting Motion for Summary Judgment ("Defendant's Reply"),
Docket Entry No. 38.
       30
            Plaintiff's Response, Docket Entry No. 32, p. 9.

                                     -11-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 12 of 50




       2.          Section 1983

       Title VII and§ 1983 claims may be asserted concurrently, as

plaintiff has done in this case.                "When           . unlawful employment

practices encroach, not only on rights created by Title VII, but

also on rights that are independent of Title VII, Title VII ceases

to be exclusive.            At this point, § 1983 and Title VII overlap,

providing supplemental remedies."                     Southard v. Texas Board of

Criminal Justice,           114     F.3d 539,       549   (5th Cir. 1997)       (quoting

Johnston v. Harris County Flood Control District, 869 F.2d 1565,

1576        (5th    Cir.   1989),    cert.    denied,     110    S.Ct.    718   (1990)).

Employment discrimination claims brought under§1983 are analyzed

under the evidentiary framework applicable to claims arising under

Title VII.           See Tanik v. Southern Methodist University, 116 F.3d

775, 775 (5th Cir. 1997) (per curiam) ( "The elements of the Title

VII claim and the§ 1983 claim are identical.                      The court evaluates

these claims according to a single analysis.").



B.     Defendant's MSJ Based on Limitations Will be Denied

       Citing National Railroad Passenger Corp. v. Morgan, 122 S. Ct.

2061 (2002), the COH argues that plaintiff's claims based on acts

occurring prior to May 31, 2016, are time barred. 31                     Asserting that



      Defendant's MSJ, Docket Entry No. 29, pp. 15-17.
       31
                                                         See also
Defendant's Reply, Docket Entry No. 38, pp. 2-4 (asserting that
"Plaintiff's sexual harassment claim may not be based on any acts
that allegedly occurred during the tenure of Sergeant Perales").

                                             -12-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 13 of 50




plaintiff filed his initial charge with the EEOC and the Texas

Workforce Commission on March 31, 2017, and that any discrete acts

occurring more than 300 days prior to that date are time-barred,

the COH argues that there is no evidence to support any continuing

unlawful practice which occurred prior to May 31, 2016.             Defendant

argues     that   while   plaintiff   identified   the   "latest"    date   as

September 27, 2016, he neither identified any "earliest" date nor

checked the "continuing action" box on his EEOC charge form. v

Defendant also argues that

     [w]hile Plaintiff complains that Officer McCormick made
     repeated comments containing sexual innuendo, McCormick
     was [plaintiff's] co-worker, not a manger. As alleged by
     Plaintiff, [his] managing supervisor on 9/27/16 was
     Sgt. White.      See Complaint, � 26.        White began
     supervising [plaintiff] in September 2015. See id. � 13.
     As a matter of law, any continuing action must have
     occurred, if at all, during the period when White was
     managing [plaintiff] .   . There is no evidence that any
     of the alleged harassing acts by McCormick occurred
     during that time frame.      On the contrary, Plaintiff
     contends the allegedly "objectionable behavior" by
     McCormick occurred during the period when their direct
     supervisor was Sergeant Jeanette Perales. See Complaint,
     �� 7, 8.    Perales left the Special Victims Division,
     Child Sexual Abuse Unit on September 15, 2015, after
     which [plaintiff] and McCormick were supervised by
     Sgt. White and Sgt. T. Roberson. Id. � 13.     . Although
     Plaintiff contends that White and Roberson knew about
     McCormick's past behavior, there is no evidence or
     allegation that McCormick actually perpetuated any
     harassing acts during White and Roberson's tenure until
     September   27,   2016.      Thus,   the   alleged   past
     "objectionable behavior" of McCormick does not constitute
     the "same unlawful practice" as the September 27, 2016




     32
          Defendant's MSJ, Docket Entry No. 2 9, p. 16.

                                      -13-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 14 of 50




     incident which was the subject of [plaintiff]'s EEOC
     charge, and there is no continuing violation.33

     Plaintiff responds that · there is no merit to defendant's

argument that his sexual harassment claim is time barred because

     [a] s [he] stated in his [EEOC] Charge, the unlawful
     sexual harassment of which he complains began as early as
     August 2014 and continued through September 2016. And
     the conduct was similar throughout the entire period -
     McCormick engaged in "inappropriate and lewd sexual
     comments and innuendos,         on a regular basis" and
     stopped by his desk "practically every day and made
     inappropriate and unwelcome comments." These actions are
     sufficiently similar, occurred with great frequency, and
     involved the same perpetrator, all of which evidences
     that his complaint is about one continuous act of
     harassment under the teachings of the Morgan case. 34



     1.      Additional Law

     In Morgan the Supreme Court held that

     a Title VII plaintiff raising claims of discrete
     discriminatory or retaliatory acts must file his charge
     within the appropriate time period - 180 or 300 days -
     set forth in    42 U.S.C. § 2000e-5 (e) (1).   A charge
     alleging a hostile work environment claim, however, will
     not be time barred so long as all acts which constitute
     the claim are part of the same unlawful employment
     practice and at least one act falls within the time
     period.

122 S. Ct. at 2077. The Court reasoned that "[h]ostile environment

claims are different in kind from discrete acts. Their very nature


     33
          Id. at 16-17.
     34
       Plaintiff's Response, Docket Entry No. 32, pp. 50-51 (citing
EEOC Charge-Second Supplement filed on November 14, 2017, p. 1 � 2,
Exhibit 2, Attachment B, Docket Entry No. 32-3, p. 32). See also
EEOC Charge filed on March 31, 2017, Exhibit B to Defendant's MSJ,
Docket Entry No. 29-2, p. 1 � 2) (same).
                                   -14-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 15 of 50




involves    repeated   conduct."       Id.   at   2073.         "The     'unlawful

employment practice' therefore cannot be said to occur on any

particular day.      It occurs over a series of days or perhaps years

and,   in   direct   contrast   to   discrete     acts,    a    single    act   of

h_arassment may not be actionable on its own."            Id.   Observing that

"[a]   hostile work environment claim is composed of a series of

separate acts that collectively constitute one 'unlawful employment

practice,'" id. at 2074, the Court explained that

       [t]he timely filing provision only requires that a Title
       VII plaintiff file a charge within a certain number of
       days after the unlawful practice happened. It does not
       matter, for purposes of the statute, that some of the
       component acts of the hostile work environment fall
       outside the statutory time period. Provided that an act
       contributing to the claim occurs within the filing
       period, the entire time period of the hostile environment
       may be considered by a court for the purposes of
       determining liability.



       In Stewart v. Mississippi Transportation Commission, 586 F.3d

321, 328-30 (5th Cir. 2009), the Fifth Circuit explained that the

continuing violation doctrine applied to hostile work environment

claims in Morgan is limited in three ways.           "First, the plaintiff

must demonstrate that the       'separate acts' are related,              or else

there is no single violation that encompasses the earlier acts."

Id. at 328    (citing Morgan, 122 S.Ct. at 2075-76).              "Second, the

violation must be continuing; intervening action by the employer,

among other things, will sever the acts that preceded it from those

subsequent to it, precluding liability for preceding acts outside

                                     -15-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 16 of 50




the filing window."       Id.   (citing Morgan,     122 S.Ct.    at 2075).

"Third,    the continuing violation doctrine is tempered by the

court's equitable powers, which must be exercised to 'honor Title

VII's remedial purpose "without negating the particular purpose of

the filing requirement.'""        Id. (quoting Morgan, 122 S. Ct. at

2076)     (quoting Zipes v. Trans World Airlines,        Inc.,   102 S. Ct.

1127, 1135 (1982)).     In Heath v. Board of Supervisors for Southern

University and Agricultural and Mechanical College, 850 F.3d 731

( 5th Cir. 201 7),    the Fifth Circuit restated and reaffirmed the

Stewart court's analysis of the continuing violation doctrine and

its three limitations.       Id. at 738-41.      The Fifth Circuit also

recognized that "[t]he continuing violation doctrine applies the

same to Title VII hostile work environment claims as it does to

such claims brought under section 1983."         Id. at 739.



     2.      Application of the Law to the Undisputed Facts

        Applying the standards expressed in Stewart, 586 F.3d at 328,

to the facts of this case, the court concludes that the continuing

violation doctrine applies here.



             (a)   The Alleged Acts of Harassment are Related

        Plaintiff contends that the incident that occurred at the

mandatory training on September 27, 2016 - during which he alleges

that Officer McCormick held up a photo of his crotch while making


                                   -16-
  Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 17 of 50



"ooh"        and    "ah"   sounds    is    part   of   a   single   hostile   work

environment that commenced in August of 2014 when McCormick began

working in the CSAU.            Because each of the separate comments and

acts that plaintiff alleges collectively created a hostile work

environment involved the same types of sexually explicit conduct

and were perpetrated by the same person, McCormick, the court finds

- and the COH does not dispute - that McCormick's conduct on

September 27, 2016, was related to the sexually explicit conduct

that McCormick directed to plaintiff more than 300 days earlier,

i.e., from the time she joined the CSAU in August of 2014.



                   (b)   The Alleged Harassment Was Continuing

        Citing Morgan, 122 S, Ct. at 2076, and Heath, 850 F.3d at 731,

defendant argues that separate acts of harassment alleged to have

occurred before and after the 300 day filing period                       do not

constitute a continuing violation because the alleged harassment

was severed by the supervisory change that occurred in September of

2015 when Sergeant Perales left and Sergeant White become both

plaintiff's and McCormick's immediate supervisor. 35 Asserting that

"the focus in a continuing violation inquiry is whether 'the same

supervisors were involved' in managing the working conditions at

the time of the pre- and post-limitations incidents, " 36 the COH

argues that


        35
             Defendant's MSJ, Docket Entry No. 29, p. 16.
        36 Defendant's      Reply, Docket Entry No. 38, p. 3.
                                          -17-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 18 of 50




       [t]he change in supervision from Sgt.        Perales to
       Sgt. White broke any connection between these events.
       Any alleged managerial negligence by Sgt.        Perales
       occurred outside of the statutory limitations period and
       is time-barred. The City is entitled to summary judgment
       as to any alleged sexual harassment which occurred under
       the supervision of Sgt. Perales. 37

       The COH has failed to cite any authority holding that a change

in supervisor - alone - is sufficient to sever related acts of

harassment and thus preclude liability for acts of harassment that

occurred outside of the filing window.                  In Morgan the Supreme Court

affirmed the Court of Appeals finding that a continuing violation

existed because "the pre- and post-limitations period incidents

involve[d] the same,type of employment actions, occurred relatively

frequently, and were perpetrated by the same managers."                     122 S. Ct.

at 2076.       In Heath, 850 F.3d at 740, the Fifth Circuit quoted this

passage from Morgan in support of its conclusion that the pre- and

post-limitations           acts   committed        by   the   same   supervisor     were

related, not whether they were continuing.                     Morgan and Heath are

both        distinguishable       because    they       harassment    at    issue    was

perpetrated       by   a    supervisor      not     a   co-worker.      A   change   of

supervisor       can        but    does     not    necessarily        constitute      an

intervening action by an employer sufficient to sever the acts that

preceded it from those subsequent to it, thus precluding liability

for preceding acts outside the filing window.




       37
            Id. at 3-4.

                                            -18-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 19 of 50



     In Stewart, 586 F.3d at 328-30, for example, the court held

that plaintiff's reassignment away from a supervisor who                    had

harassed her, constituted an intervening action that cut off the

employer's liability for harassment that preceded the reassignment.

The court explained that

     [i]n October    2004,   after   Stewart   reported   [her
     supervisor's] inappropriate conduct to his supervisor,
     MOOT   promptly   reprimanded    [her  supervisor]   and,
     crucially, reassigned Stewart from [his] supervision.
     Stewart concedes that these acts ended [her supervisor's]
     harassment for a piriod of sixteen months, until she was
     brought back under his supervision. They also proved
     satisfactory, at the time, to Stewart, who declined to
     pursue other corrective opportunities once she had been
     reassigned.

Id. at 329.   The court held that "[b]ecause MDOT's prompt remedial

action in 2004 was an intervening action under Morgan, Stewart may

not rely on the continuing violation doctrine to hold MDC liable

for any pre-October 2004 harassment."           Id.   at 330.     The Fifth

Circuit's holding in Stewart makes clear that an intervening action

sufficient to sever related acts of harassment is a prompt remedial

action that ends the harassment.

     Plaintiff's own testimony, the administrative statements of

many of his peers, including Officer McCormick, and the report that

resulted from the IAD investigation of plaintiff's complaint, all

constitute    evidence     that    McCormick     regularly      engaged      in

inappropriate, sexually explicit conduct both before and after the

supervisory change     the   COH   argues   constitutes    an   intervening

action.   Because the summary judgment record contains no evidence

either that Sergeant Perales was replaced by Sergeant White as a

                                   -19-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 20 of 50



remedial action,     or that the change in supervisors caused any

change in McCormick's conduct, the court is not persuaded that the

supervisory change constitutes an intervening action sufficient to

sever the acts of alleged harassment that preceded it from those

that occurred subsequent to it, thus precluding the COH's liability

for acts that occurred outside of the filing window.           Because the

summary   judgment   records    contains    evidence   showing    that      the

separate acts of alleged harassment that occurred both before and

after Sergeant Perales left the CSAU and Sergeant White became the

immediate supervisor for both plaintiff and McCormick, involved the

same type of sexually explicit conduct, occurred regularly, i.e.,

on an almost daily basis, and were perpetrated by the same person,

the court concludes that the alleged harassment was continuing.



           (c)   The Court's Equitable Powers Are Not Implicated

     Defendant has not pointed to any equitable consideration that

should prevent the court from considering the full scope of the

continuing conduct.     See Stewart, 586 F.3d at 328.



     3.    Conclusions

     Based on the findings made in §§ III.B.2(a)-(b), above, the

court concludes that plaintiff's hostile work environment claim is

a claim for a continuing violation,           and that the COH is not

entitled to summary judgment that plaintiff's claims based on acts

occurring prior to May 31, 2016, are time barred.

                                   -20-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 21 of 50




C.           Defendant's MSJ on Plaintiff's Claim             for     Hostile Work
             Environment Based on Sex Will be Denied

             Plaintiff's     hostile   work   environment   claim    is   based   on

allegations that beginning in August of 2014, his female co-worker,

Officer McCormick, made "inappropriate and lewd sexual comments and

innuendos directed towards and/or deliberately in [his] presence .

     .   '        and she did so on a regular basis," 38      that     McCormick's

"constant objectionable behavior was well-known by [plaintiff's]

co-workers and by h.is immediate supervisor, Sgt. Perales, who was

also McCormick's s�pervisor," 39 that "Perales openly acknowledged

to [plaintiff] that she knew about McCormick's misconduct," 40 that

"Perales took a fe� ineffective steps that                          were her token

attempts to stop the harassment," 41 and that "Perales transferred

to another HPD division in September 2015, after which [plaintiff]

was supervised by Sgt. T. Roberson and Sgt. Shaundra White [both of

whom were] well aware of McCormick's behavior." 42




             38
                  Plaintiff's Complaint, Docket Entry No. 1, p. 3 � 7.
             39
                  Id. � 8.




             42
      Id. at 5 � 13 (alleging that Sergeant Roberson was well aware
of McCormick's behavior).      See also id. � 14 (alleging that
Sergeant White was well aware of McCormick's behavior).

                                          -21-
  Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 22 of 50




     1.        Additional Law

     The elements of a hostile work environment claim depend on the

status    of    the   harasser.    When     an   alleged    harasser   is   the

plaintiff's co-worker, not his supervisor, "the employer is liable

only if it was negligent in controlling               working    conditions."

E.E.O.C. v. Boh Brothers Construction Co., LLC, 731 F.3d 444, 452

(5th Cir. 2013) (en bane) (quoting Vance v. Ball State University,

133 S. Ct. 2434, 2439 (2013)).            To establish a Title VII hostile

work environment claim plaintiff must show that he (1) belongs to

a protected group;        (2) was subjected to unwelcome harassment;

(3) the harassment was based on his sex;                   (4) the harassment

affected a term, condition, or privilege of his employment; and

(5) the COH knew or:should have known of the harassment and failed

to take prompt remedial action. Hernandez v. Yellow Transportation,

Inc., 670 F.3d 644,, 651 (5th Cir.), cert. denied sub nom. Ketterer

v. Yellow Transportation,         Inc.,    133 S. Ct. 136       (2012) (quoting

Ramsey v. Henderson, 286 F.3d 264, 268 (5th Cir. 2002)).

     For harassment to affect a term, condition, or privilege of

employment, it must be "sufficiently severe or pervasive to alter

the conditions of the victim's employment and create an abusive

working environment."       Id.   "Workplace conduct 'is not measured in

isolation.'"       Id. (quoting Ramsey, 286 F.3d at 268).

     In order to deem a work environment sufficient hostile,
     "all   of  the   circumstances must    be  taken   into
     consideration." .       This includes "the frequency of
     the discriminatory conduct; its severity; whether it is

                                    -22-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 23 of 50




     physically threatening or humiliating,      or a mere
     offensive utterance;    and whether it unreasonably
     interferes with an employee's work performance."

Id. ( quoting Ramsey, 28 6 F.3d at 2 68).      "To be actionable, the work

environment must be 'both objectively and subjectively offensive,

one that a reasonable person would find hostile or abusive, and one

that the victim in fact did perceive to be so.'"                 Id.   ( quoting

Faragher v. City of Boca Raton,           118 S.   Ct. 2275,    2283   (1998)).

"[The] standards for judging hostility are sufficiently demanding

to ensure that Title VII does not become a               'general civility

code.'"      Faragher,   118 S.   Ct. at 2283-84.       "Properly applied,

[these    standards]     will   filter   out   complaints      attacking   'the

ordinary tribulations of the workplace, such as the sporadic use of

abusive language, g�nder-related jokes, and occasional teasing.'"

Id. ·at 2284 (citation omitted).         "[The] conduct must be extreme to

amount to a change in the terms and conditions of employment."              Id.

At issue is whether the conduct alleged created a hostile work

environment that "exposed [plaintiff] to disadvantageous terms or

conditions of employment to which members of the other sex [were]

not exposed."      Oncale v. Sundowner Offshore Services, Inc., 118 S.

Ct. 998, 1002 (1998).



     2.      Application of the Law to the Undisputed Facts

        The COH does not dispute that plaintiff belongs to a protected

group    (male),   but does dispute that the alleged harassment was


                                    -23-
  Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 24 of 50




unwelcome, based o:p plaintiff's sex, or sufficiently severe or

pervasive     to    affect   a   term,    condition,   or   privilege   of   his

employment.         The COH also disputes that it knew or should have

known of the harassment but failed to take prompt remedial action. 43

Plaintiff responds that the harassment was sufficiently pervasive

to effect a term or condition of his employment, and that the COH

knew or should of known of the harassment but failed to stop it. 44



              (a)    Plaintiff   Has   Cited    Evidence Capable              of
                     Establishing that the Alleged Harassment                Was
                     Unwelcome and Based on His Sex

     Asserting that. "there is no evidence that McCormick's alleged

inappropriate and lewd sexual comments and innuendo were directed

towards [plaintiff] based on his membership in a protected class
                   !
(male)," the COH akgues
        45
                   !
                        that "McCormick was an 'equal opportunity

offender'[; f]emales as well as males reported that McCormick used

sexual language in ;their presence or acted flirtatiously towards



     43
       Defendant's �SJ, Docket Entry No. 29, pp. 18-23.   See also
Defendant's Reply, [ Docket Entry No. 38, pp. 4-5.   The COH also
argues that "any c:omplaint based on the alleged comments and
innuendos is time-barred," Defendant's MSJ, Docket Entry No. 29,
p. 18, but for the �easoris stated in§ III.B, above, the court has
already concluded that summary judgment record contains sufficient
evidence to e.stablish that plaintiff's hostile work environment
claim is a claim for a continuing violation that began in 2014 and
continued to and included the incident that occurred at the
mandatory training on September 27, 2016.
    44
          Plaintiff's �espohse, Docket Entry No. 32, pp. 44-49.
    45
         Defendant's �SJ, Docket Entry No. 29, p. 19.
                                         -24-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 25 of 50




them. . . Thus, McCormick's actions were not discriminatory and did

not violate Title VII. " 46

     Citing Oncale, 118 S. Ct. at 1001, for its holding that Title

VII's prohibition of discrimination 'because of          . . sex' protects

men as well as women," plaintiff argues that he "will offer

evidence to the jury that McCormick's behavior toward him was

unwelcome;          he avoided her, he averted his eyes, he tried to

ignore her, and he complained about it to his supervisors. " 47

Plaintiff argues that

     [h] is evidence is also sufficient to show that the
     harassment to which he was subjected was because of his
     gender.    Evidence that an indivictual of one gender
     engages in sexually inappropriate conduct and makes
     sexually inappropriate remarks to someone of the opposite
     gender does so: because of the victim's sex. 48

Plaintiff argues that

     [t]his is especially appropriate where, as here, there is
     no evidence that McCormick directed the same volume of
     sexually inappropriate misconduct toward anyone else,
     much less a female officer, as frequently or for as
     prolonged a period of time as she did toward
     [plaintiff] . 49



      Id. (citing IAD Investigate Report at Bates #0000 655, 667-68,
     46

674-75, 688, Exhibit E to Defendant's MSJ, Docket Entry No. 29-5,
pp. 9 (Officer Anny Vasquez's administrative statement), 21
(Officer Amie Flower's administrative statement), 22 (Officer
Kimberly Neal's adm�nistrative statement), and 35 (Officer Jocelyn
Wilson's administrative statement)).
          Plaintiff's Response, Docket Entry No. 32, pp. 45.
                          '
     47
                      I


     48Id.




                                   -25-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 26 of 50




     Plaintiff has presented substantial evidence to dispute the

COH's contention that the alleged conduct was neither harassing nor

based on his sex.     The conduct that plaintiff alleges constituted

a hostile work environment includes the following:

     •     McCormick routinely made a point of getting
           [plaintiff]'s attention when she walked by and
           then, having done so, she would pointedly leer at
           his crotch.   At times, she did not say a single
           word; at other times, she would make only a sound,
           like "umph."

     •     McCormick often walked directly up to [plaintiff]
           as he sat at his desk and briefly rubbed his
           shoulders and neck area before walking away.

     •     McCormick frequently made comments or statements of
           a sexual; or vulgar nature.      She has a unique
           ability to turn even the most innocuous of comments
           into a sexual innuendo.   In one conversation, for
           example, [plaintiff] mentioned a knob, like a door
           knob. Immediately, McCormick said, "I bet you like
           getting your knob twisted."

     •     [Plaintiff] was on the elevator with McCormick at
           the end of a day and the elevator was almost full
           with students from the Kaplan training school,
           which shared the building. It was a small elevator
           and [plaintiff] was at the back         . McCormick,
           acting as; though she was simply making room for the
           students, backed up close to him and, with one hand
           behind her back, she rubbed his body from mid-thigh
           up to near his groin/crotch area, and smiled.

     •     McCormick stood at     [plaintiff]' s cubicle and
           simulated oral sex/fellatio on a        [p]opsicle,
           gagging and making sure he could see her getting
           the complete popsicle in her mouth.

     •     [Plaintiff] was standing in his cubicle yawning and
           stretching and he was wearing an untucked shirt.
           Walking by, McCormick reached out her hand and
           touched his belly button/stomach (skin to skin).



                                   -26-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 27 of 50




        •       On 9/27 /16, members of the squad were attending
                mandatory training and someone took a picture with
                their phone of an officer sitting next to
                [plaintiff]         and texted it to others in the
                training.   McCormick held up her phone and called
                out to [plaintiff] with the picture zoomed in on
                his crotch.    She was pointing to his crotch and
                making ooh and ah sounds.50

Moreover,        the IAD investigation of plaintiff's complaint that

McCormick sexually harassed him resulted in a "recommend [ation

that]        the conduct alleged,       Sexual Harassment,   be classified as

SUSTAINED.            1151
                             On this record, a reasonable jury could find that

McCormick's alleged harassment was both unwelcome and directed at

plaintiff because of his sex.             See Lauderdale v. Texas Department

of Criminal Justice; Institutional Division, 512 F.3d 157, 163 (5th

Cir. 2007) (finding that the second and third elements of a hostile

work environment claim were satisfied by the employer's finding

that the alleged harasser had engaged in "Discourteous Conduct of

a Sexual Nature").



                (b)     Plaintiff   Has    Cited   Evidence   Capable    of
                        Establishing that the Alleged Harassment Effected a
                        Term, Condition, or Privilege of His Employment

        Arguing that the alleged harassment did not affect a term,

condition, or privilege of plaintiff's employment, the COH argues


      Plaintiff's �esponse, Docket Entry No. 32, pp. 17-18 (citing
        50

Gregg Declaration, pp. 3 � 5 and 8 � 16, Exhibit 2 to Plaintiff's
Response, Docket Entry No. 32-3, pp. 4 � 5 and p. 9 � 16.

      Investigative Summary, p. 7, Exhibit H to Defendant's MSJ,
        51

Docket Entry No. 29-8, p. 8.
                                          -27-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 28 of 50




that    plaintiff's     allegations    of    sexual    harassment        are    not

sufficiently    severe     or   pervasive    to   support     a    hostile      work

environment claim. 52      The COH argues that

       Plaintiff has no concrete examples of frequent harassment
       by McCormick within the 300-day statutory time frame.
       The only timely complaint, that McCormick laughed while
       looking at a picture of [plaintiff]'s clothed penis area,
       is neither severe nor physically threatening. There is
       no indication that McCormick's actions unreasonably
       interfered with [plaintiff]'s work performance such that
       they "destroyed [his] opportunity to succeed in the
       workplace."         Indeed, as noted above, [plaintiff]
       stated that he ignored McCormick's inappropriate comments
       until the "penis picture" incident,         which never
       reoccurred after he reported it.        Thus the alleged
       harassment was not severe or pervasive. 53

       Plaintiff responds that "[w]hile the City disagrees, [he] has

evidence that McCormick began engaging in sexually inappropriate

conduct toward and· directing offensive sexual comments to him

without delay      and that misconduct continued on an almost daily

basis for the next t
                   ; wo years. "
                                 54



       Contrary to    the COH's argument,         plaintiff        has   presented

evidence    from   which    a   reasonable    jury    could       find   that    the

harassment complained of was both objectively and subjectively


      Defendant's MSJ, Docket Entry No. 29, pp. 19-21.
       52
                                                                         See also
Defendant's Reply, Pocket Entry No. 38, pp. 4-5.

      Defendant's MSJ, Docket Entry No. 29, p. 21 (citing
       53

Plaintiff's Stateme'nts included in the IAD Investigative Report,
Bates # 000649, 000651-652, Exhibit E to Defendant's MSJ, Docket
Entry No. 29-5, pp. 3, 5-6).

      Plaintiff's Response, Docket Entry No. 32, p. 17 (citing
       54

Gregg Declaration, Exhibit B to Plaintiff's Response, Docket Entry
No. 32-3).

                                      -28-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 29 of 50




offensive, and sufficiently pervasive to affect a term, condition,

or privilege of his employment.                     Evidence that the harassment

plaintiff experienced was subjectively offensive is found in the

complaints that he lodged with his supervisors, Sergeants Perales

and White, the COH's ADR, and the EEOC.                        See Aryain v. Wal-Mart

Stores Texas LP, 534 F.3d 473, 480 (5th Cir. 2008) (holding that

female plaintiff's pursuit of harassment claims with both her

employer and the EEOC would allow a jury to conclude that she

perceived her working environment to be hostile or abusive).
         In         determining        whether        a      work      environment          is

objectively hostile or abusive courts look to the totality of the

circumstances and examine "the frequency of the discriminatory

conduct;            its severity; whether it is physically threatening or

humiliating,            or a    mere    offensive         utterance;    and    whether      it

unreasonably           interferes with       an     employee's      work     performance."

Hernandez, 670 F.3d at 651. See also Harris v. Forklift Systems,

Inc. ,        114    S. Ct. 3 67,       3 71 (1993)       (harassment       must    be   such

that      "the        environment       would reasonably be perceived,                and is

perceived, as hostile or abusive"). In                      Lauderdale,       512   F. 3d    at

164,     the         Fifth   Circuit     held     that evidence        of     frequent      but

non-severe            harassment       was   sufficiently pervasive            to    survive

summary judgment.              The relevant harassment in Lauderdale consisted

of multiple phone calls during the plaintiff's shift                                from her

supervisor for nearly four months.                          Id. at 161-62. While the

calls indicated the supervisor's romantic interest in the
                                             -29-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 30 of 50




plaintiff, the call that was the most sexual in nature merely

invited the plaintiff to travel to Las Vegas with the supervisor to

"snuggle."    Id. at 161.     In reversing the district court's entry of

summary    judgment,    the    Fifth    Circuit     declared    that   frequent

harassment can be sufficiently pervasive to create a hostile work

environment even if the individual incidents of harassment were not

severe.    The court explained that

      [a]lthough the. district court correctly noted that none
      of the incidents of alleged harassment rises to the level
      of severity we have required, the test - whether the
      harassment is . severe or pervasive - is stated in the
      disjunctive. An egregious, yet isolated, incident can
      alter the terms, conditions, or privileges of employment
      and satisfy the fourth element necessary to constitute a
      hostile work environment.    . The inverse is also true:
      Frequent incidents of harassment, though not severe, can
      reach the level of "pervasive," thereby altering the
      terms, conditions, or privileges of employment such that
      a hostile work environment exists. Thus, "the required
      showing of severity or seriousness of the harassing
      conduct varies inversely with the pervasiveness or
      frequency of the conduct."

Id. at 163     (citations omitted)            See also Harvill v. Westward

Communications,     L.L.C., 433        F.3d 428, 434-35        (5th Cir. 2005)

(explaining that conduct need not be both severe and pervasive to

be actionable under Title VII); LaDay v. Catalyst Technology, Inc.,

30 2 F.3d 4 7 4, 483 (5th Cir. 2 00 2 ) ( same) .

      Viewing plaintiff's allegations in the light most favorable to

him, as the court must, the court concludes that McCormick's

behavior was pervasive.         Plaintiff's testimony that McCormick's

offensive conduct occurred regularly, i.e., on an almost daily


                                       -30-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 31 of 50




basis, is sufficient to establish that the offensive conduct was

frequent enough to be found "pervasive."           Moreover, McCormick's

unwelcome harassment was not confined to inappropriate comments, it

also included inappropriate touching and embarrassing plaintiff in

front of his peers such as when she held up a photo of plaintiff's

crotch while making        "ooh"   and   "ah" sounds during a mandatory

training.    A reasonable jury could conclude from this evidence that

the two years of sexually explicit comments and unwanted touching

that    plaintiff     endured   constitutes   harassment   that     was   both

objectively offensive and sufficiently pervasive to alter a term,

condition, or privilege of his employment.            See Lauderdale, 512

F.3d at 163.       See also Cherry v. Shaw Coastal, Inc., 668 F.3d 182,

189     (5th Cir.),   cert. denied,      133 S. Ct. 162    (2012)    (finding

hostile work environment existed when plaintiff was subject to

multiple months of unwanted sexual grabbing and explicit comments);

Harvill, 433 F.3d at 435        (finding severe or pervasive harassment

when,    over seven months,     a coworker grabbed a female employee,

fondled her breasts and patted her buttocks numerous times, and

rubbed his body against her).



             (c)    Plaintiff Cites Evidence Capable of Establishing
                    that the COH Failed to Take Prompt Remedial Action

        The COH argues that prompt remedial action was taken as soon

as plaintiff complained about the alleged harassment.                The COH

argues that

                                     -31-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 32 of 50




       [h] ere, [plaintiff] submitted a formal complaint about
       McCormick's ac�ions to HPD's ADR Division and to IAD on
       Monday, October 3, 2016 . . . . IAD immediately started an
       investigation. . . . Two days later, on October 5, 2016,
       the City issued an cirder of No Contact requiring
       McCormick to "immediately cease any and all contact with
       [plaintiff]."             Additionally, the City moved
       McCormick out of the Children's Assessment Center ( "CAC")
       building in Rice Village where [plaintiff] worked and to
       the Child Sex Abuse Unit's Mykawa location.
       Plaintiff complains that, some unspecified time after she
       was moved to Mykawa, McCormick subsequently returned back
       to the CAC.       . While McCormick was assigned to the
       third floor and [plaintiff] worked on the fourth floor,
       Plaintiff complains that he would still see her in the
       common areas.       . However, Plaintiff does not allege
       that McCormick ever harassed him after October 3, 2016. 55

       Plaintiff responds that all of the supervisors he had from

2014 to 2016 knew about, but failed to stop, the harassment, and

that    while     his   formal   complaint   to   ADR   and   IAD    ended    the

harassment, the ensuing investigation, pursuant to which his co­

workers were not on-ly informed of his complaint but also required

to respond to questions related to it, engendered hostility from

his co-workers that jeopardized his safety, and hostility from his

supervisors that caused him to experience an involuntary transfer

from the CSAU. 56

       The undisputed evidence        shows that Sergeant           Perales   who

supervised plaintiff from 2014 to the fall of 2015, not only knew

about McCormick's behavior,         and took steps to insure that her



      Defendant's MSJ, Docket Entry No. 29, pp. 21-22.
       55
                                                                       See also
Defendant's Reply, Docket Entry No. 38, p. 5.
       56
            Plaintiff's Response, Docket Entry No. 32, pp. 18-33, 47-49.

                                     -32-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 33 of 50



subordinates were aware of HPD's sexual harassment policies, but

that she did not take any steps that stopped the harassment.                For

example, in a statement provided on October 10, 2016, as part of

the IAD investigation, plaintiff was asked, "Did you ever notify a

supervisor about [McCormick's] inappropriate comments?           If so, who

did you notify,    and what was the supervisor's response and or

actions to remedy the situation?"         Plaintiff responded that

     I did not have to notify the first supervisor, Sgt. J.
     Perales.    In late 2014 or early 2015 she called myself
     and Officer Kelly into her office to inquire about the
     inappropriate activity/ comments being made by Officer
     McCormick. She appeared to be surprised by the degree of
     inappropriateness and I remember our squad having a brief
     meeting about sexual harassment in the office. My squad
     also received an email on Jan. 27, 2015 about sexual
     harassment from Sgt. Perales .        We have had no less
     than three meetings where sexual harassment was
     discussed. Further, I believe that since that time there
     was a sexual harassment clause added to our JPR
     reviews. 57

     The administrative statement that Officer Kelley provided as

part of the IAD investigation of plaintiff's complaint corroborates

plaintiff's statements regarding his supervisors' knowledge of

McCormick's behavior.       In pertinent part Kelley stated that

     Officer McCormick has always made inappropriate comments
     in a joking manner.      On multiple occasions she has
     twisted conversations into sexual situations while in the
     office and supervisors have been notified and are aware
     of her actions. Because they have always been informed
     about her actions, · I never had to notify a, supervisor
     about Officer McCormick's sexual references.      I have
     never been offended .       and I always ignore them or
     excuse myself from the conversation.


      Exhibit 2, Attachment G to Plaintiff's Response, Docket Entry
     57

No. 32-4, p. 12.

                                   -33-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 34 of 50




     Yes, I do remember speaking about Officer McCormick's
     inappropriate comments with Sergeant Perales in which she
     asked if I or [plaintiff] as well [as] other officers
     were offended by her actions.    Sergeant Perales stated
     that she would handle the situation and sent out an email
     to entire squad regarding sexual harassment.



     After the email was sent to our squad several meetings to
     which I cannot count were conducted in the break room in
     which sexual harassment was the focus. In these meetings
     both Sergeant White and Sergeant Perales were present
     along with their respective officers assigned to them.
     No names were ever specifically named during the meeting
     but we were advised that sexual harassment would not be
     tolerated.

     The outcome of our squad meetings were general in which
     behavior would cease regarding Officer McCormick's sexual
     conversations but would continue several days after.    I
     did not notify a supervisor about [it] as I believed she
     would be disciplined for her behavior. 58

     The COH's argument that prompt remedial action was taken to

prevent and/or correct any inappropriate behavior is contradicted

not only by evidence that plaintiff's supervisors were aware of the

harassment, but also that attempts to address the harassment by

sending email and holding meetings at which the issue was addressed

in general terms and failed to stop the harassment for more than

days at a time.     Based on this evidence a reasonable fact finder

could conclude that the COH know or should have known of the

harassment but failed to take prompt remedial action.


     58
       Excerpts from IAD File, Bates # COH Gregg 000788, �� 9, 11
15-16, Exhibit 1 Attachment J to Plaintiff's Response, Docket Entry
No. 35, p. 14, �� 9, 11 15-16.

                                   -34-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 35 of 50




       3.    Conclusions as to Hostile Work Environment Claim

       There is no reasonable basis to support granting the COH's MSJ

on plaintiffs' hostile work environment claim. Considering all the

facts in the light most favorable to the plaintiff, genuine issues

of    material      fact    exist   as    to   whether      McCormick's    pervasive,

sexually charged conduct was directed at plaintiff because of his

sex, was unwelcome, was subjectively and objectively offensive, and

was sufficiently severe or pervasive to effect a term, condition,

or privilege of the plaintiff's employment.                         Genuine issues of

material fact also exist as to whether the COH knew or should have

known of the harassment but failed to take prompt remedial action

to end the harassment. Accordingly, the COH's MSJ on plaintiffs'

hostile work environment claim will be denied.



D.     Defendant's MSJ on :Plaintiff's                 Retaliation     Claim Will be
       Denied

       1.    Additional Law

       Title VII protects employees from retaliation for exercising

protected rights.           See 42 U.S.C. § 2000e-3.             See also Aryain, 534

F.3d    at   484.      In    order to      establish       a     prima facie   case   of

retaliation under Title VII plaintiff must show that (1) he engaged

in activity protected by Title VII,                   (2) he suffered a materially

adverse employment action,               and   (3)    a causal connection exists

between      the    protected       activity         and   the    materially   adverse

employment action.           Aryain, 534 F.3d at 484.               For purposes of a

                                           -35-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 36 of 50




Title VII retaliation claim, an adverse employment action is an

action that could dissuade a reasonable worker from making or

supporting a charge of discrimination.                 Id.   (citing Burlington

Northern & Santa Fe Railway Co. v. White, 126 S. Ct. 2405, 2409

(2006)).     Once plaintiff establishes a prima facie case the burden

shifts to the employer to articulate a legitimate non-retaliatory

reason for the adverse employment action.              Aryain, 534 F.3d at 484.

"If the employer meets this burden of production, the plaintiff

then bears the burden of proving that the employer's reason [for

the adverse action] is a pretext for the actual retaliatory reason.

Id. (citing McCoy v. City of Shreveport, 492 F.3d 551, 557                        (5th

Cir. 2017)     (per curiam)) .       Plaintiff is required to demonstrate

that the adverse employment action would not have occurred "but

for" his protected activity.           Nassar, 133 S. Ct. at 2533 ("Title

VI I retaliation claims must be proved according to traditional

principles of but-for causation . . ."). To avoid summary judgment

on his      retaliation claim plaintiff must show "a                   conflict    in

substantial evidence on this ultimate issue," Hernandez, 670 F.3d

at   660,    i.e.,   whether   the    COH     retaliated     against    plaintiff.

"Evidence is 'substantial' if it is of such quality and weight that

reasonable     and   fair-minded     men    in   the   exercise    of    impartial

judgment might reach different conclusions." Id. (quoting Long v.

Eastfield College, 88 F.3d 300, 308 (5th Cir. 1996)).




                                       -36-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 37 of 50



     2.      Application of the Law to the Facts

              (a)   Plaintiff Establishes a Prima Facie Case

     The COH does not dispute that plaintiff engaged in protected

activity by complaining to his immediate supervisor,                     Sergeant

White, about the incident that occurred at the mandatory training

on September 27,          2016,   by filing a formal complaint of sexual

harassment with HPD's ADR office on October 3, 2016, and by filing

charges for gender discrimination and retaliation with the EEOC on

March 31, 2017.       The COH argues, however, that plaintiff has not

suffered any adverse employment action as a result of his protected

activity,     and that even if he did suffer an adverse employment

action,     there   is     no     causal    connection   between   the    adverse

employment action and his protected activity. 59            Plaintiff responds

that a reasonable jury could conclude that the cumulative effects

of the retaliatory acts that he suffered after making his sexual

harassment complaint was materially adverse and would dissuade a

reasonable officer from making a sexual harassment complaint. 60



                    (1)    Plaintiff Has Cited Evidence Capable of
                           Establishing that He Suffered a Materially
                           Adverse Employment Action

     Citing inter alia,            Welsh v. Fort Bend Independent School

District, 941 F.3d 818, 827 (5th Cir. 2019), cert. denied, 141 S.



     59
      Defendant's MSJ, Docket Entry No. 29, pp. 23-32.                   See also
Defendant's Reply, Docket Entry No. 38, pp. 5-9.
     60
          Plaintiff's Response, Docket Entry No. 32, pp. 38-44.

                                           -37-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 38 of 50



Ct. 160         (2020),   the COH argues that neither HPD's involuntary

transfer of plaintiff to Juvenile Intake nor the poor review that

plaintiff received on the JPR dated October 12, 2017, can serve as

the basis for his retaliation claim.61          In Welsh the Fifth Circuit

stated that "when determining whether an allegedly retaliatory

action is materially adverse,          courts   'look to indicia such as

whether the action affected "job title, grade, hours, salary, or

benefits" or caused "a diminution in prestige or change in standing

among                coworkers."'"           (quoting Paul v. Elayn Hunt

Correctional Center, 666 F. App'x 342, 346 (5th Cir. 2016)              (per

curiam)        (quoting Stewart, 586 F.3d at 332) ) .   The COH argues that

as the Fifth Circuit stated in Welsh and other cases,

     a retaliatory employment action must create an objective
     difference in terms of the aggrieved employee's
     compensation, benefits, working conditions, job title,
     grade, hours or prestige in order to violate Title VII .
     . . . Plaintiff cannot establish any of these differences
     between the position at Juvenile Division and his prior
     position at the Children's Assessment Center. Plaintiff
     remained a police officer receiving the same salary .
        While he stopped receiving investigator pay, he began
     receiving shift pay and weekend pay in an amount greater
     than what he received as investigator pay
     Additionally, Plaintiff has presented no evidence that
     his position in the Juvenile Division was less
     prestigious than his prior position at the Child
     Assessment Center.    In fact, the evidence shows that
     routinely there is a waiting list of applicants for
     Juvenile Intake Officer position            Unlike these
     applicants, Plaintiff was not subject to interview nor
     did he have to wait on a waiting list. Thus, no injury
     or harm can be shown.�



        61
             Defendant's MSJ, Docket Entry No. 29, p. 28.
        62
             Id. at 28 -29.
                                      -38-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 39 of 50




Citing Plaintiff's Complaint, the COH argues that

     [i]t is [plaintiff's] contention that the JPR harmed his
     'ability to be competitive in applying for transfers to
     a more desirable position.'                [Plaintiff's]
     contentions are nothing more than bare speculation.

          There is no evidence that a signed copy of the
     October 12, 2017[,J JPR ever appeared in [plaintiff's]
     personnel file or department resume . . . . Further, since
     October 12, 2017, [plaintiff] has put in for only one
     transfer, to sex offender registration, and he received
     that transfer .    . He has not put in any transfers to
     investigative positions .     He does not know for sure,
     whether he would or would not get an investigative
     position if he applied. 63

     Citing Johnson v. Halstead, 916 F.3d 410, 421 (5th Cir. 2019),

plaintiff responds that

     [i]n a recent decision with facts similar to the evidence
     that [plaintiff] h�s t� offer a jury in this case, the
     Fifth Circuit annouriced that it would have "no trouble"
     finding that the evidence was sufficient to show an
     actionable claim of retaliation when (1) the police
     officer had been transferred from a daytime shift during
     the week to a night shift that required him to work
     weekends; (2) the unit to which he was transferred was a
     widely-acknowledged inferior position; and (3) the
     officer lost income from an extra job he could no longer
     work due to that shift :change. 64

     The summary judgment record contains undisputed evidence that

effective      September   9,     2017,        plaintiff   was   involuntarily

transferred from       working    day     shifts   with    weekends   off   as   a

investigator in the CSAU to working evening shifts with week days

off in Juvenile Intake.          In Johnson the police officer plaintiff



     63
          Id. at 29.
     64
          Plaintiff's Response, Docket Entry No. 32, p. 39.
                                        -39-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 40 of 50




experienced a substantially similar transfer "from the day shift in

Traffic Division .           to Second Shift West Division, which [the

plaintiff] describe[d] as 'one of the worst shifts in the entire

police department.'"        Id: at 415.   Analyzing the plaintiff's claim

that the transfer was in retaliation for having complained of

discrimination, the Fifth Circuit stated:         "He went from a daytime

shift during the week to a night shift on the weekend.              Just in

terms of that timing, either hours or days, the shift change could

dissuade an officer from making a discrimination complaint."                Id.

at 421.     Because the involuntary transfer that plaintiff received

in September 2017 involved the same change from a daytime shift

during the      week     to a night shift    on the   weekend,   the court

concludes that the transfer could reasonably be found to be a

materially adverse employment action because it would dissuade a

reasonable employee from making a charge of discrimination. 65



                   (2)    Plaintiff Has Cited Evidence Capable of
                          Establishing a Causal Connection Between His
                          Protected Activity and a Materially Adverse
                          Employment Action

     The COH argues th�t "[t]here is no evidence that Plaintiff's

protected activity was ever a consideration in his transfer to the

Juvenile Division." 66      The CQH argues that



     65
          Plaintiff's Response, Docket Entry No. 32, pp. 38-41.
     66
          Defendant's MSJ, Docket Entry No. 29, p. 30.

                                     -40-
  Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 41 of 50



    [ i] n his email following a meeting with [plaintiff],
    Captain Angelo specified the reasons for requesting that
    [plaintiff] be transferred sooner rather than later.
    Captain Angelo noted [plaintiff's] desire to leave the
    Special Victims Division, the stress being placed on
    other officers due to the extra case load imposed on them
    as a result of [plaintiff's] light duty status, and the
    fact that there was an active transfer list for the
    Special Victims Division from which they could select a
    replacement. . . . Thus, there is no causal connection to
    Plaintiff's protected activity and his transfer to the
    Juvenile Division. 67

The COH argues that

    Plaintiff likewise fails to show a causal connection
    between a protected activity and the JPR he was handed on
    October 12, 2017. Plaintiff claims the JPR was signed by
    his supervisor Sergeant Alvarez. There is no evidence to
    show that Sergeant' Alvarez was aware that Plaintiff
    participated in any protected activity.          .Sergeant
    Alvarez did not become [plaintiff's] supervisor until
    April 8, 2017.   Ex., U i i This after Plaintiff filed his
    EEOC Charge on March 31) 2017 and well after he filed his
    complaint with IAD on .October 3, 2016. Ex. B & F. In
    fact, by the time �eigeant Alvarez became Plaintiff's
    supervisor the .IAD investigation had concluded and
    Officer McCormick had bE;en issued a seven-day suspension.
    Ex. I.      Thus, ther� is no causal connection to
    Plaintiff's protected activity and the October 12, 2017,
    JPR. 68

    Plaintiff responds that the COH's contention that

    there is no evidence of any causal connection between
    [his] sexual harassment complaint and []his involuntary
    transfer . to Juvenile Intake         may be one of the
    boldest misstatements of the record the City presents in
    its motion.    As [plaintiff's] evidence will show, the
    question of whether it might be best to transfer to
    another unit came up because he was experiencing so much
    retaliation from his colleagues as a result of his sexual
    harassment complaint. 69 •


     67Id.


     68
          Id . at 30-31.
     69
          Plaintiff's Response, 'Docket Entry No. 32,_ p. 27.

                                   -41-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 42 of 50




Plaintiff argues that "shortly after refusing to dismiss his sexual

harassment         claim,   [he]   was   transferred   to        one   of   the   least

prestigious units in HPD - a transfer that cost him thousands of

dollars.    1170



     The COH replies that

     Plaintiff has provided no evidence that Assistant Chief
     Dobbins, who approved Plaintiff's transfer to the
     Juvenile Division (See, Ex. N), Captain Angelo, or
     Sergeant Alvarez were aware of his protected activity or
     harbored any retaliatory animus because of his protected
     activity.   The evidence shows that both Captain Angelo
     and Sergeant Alvarez . arrived in the CSAU unit after
     Plaintiff filed his IAD complaint and the investigation
     was complete.   See, E;x. U and AA.    Plaintiff has not
     provided any evidence to show that Chief Dobbins, Captain
     Angelo or Sergeant Alvarez were aware of his IAD
     complaint, or any othe� protected activity, and that it
     was a factor in any of their employment decisions. 71

     The COH's contention that there is no causal connection

between      plaintiff's      compl�int     of   sexual     harassment       and    his

involuntary transfer from the CSAU to Juvenile Intake because there

is no evidence either that the transfer occurred within close

temporal proximity to plaintiff's protected activity or that "Chief

Dobbins, Captain Angelo or .�ergeant Alvarez were aware of his IAD

complaint,         or any other protected activity,              and that it was a

factor in any of their employment decisions,              1172
                                                                 strains credulity.




     70
          Id. at 42.
     71
          Defendant's Reply, Docket· Entry No. 38, p. 7.


                                         -42-
     Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 43 of 50




       The summary judgment record shows that plaintiff filed a

charge for sexual harassment and retaliation with the EEOC on March

31, 2017, in which he alleged that he is

       now considered to be a department "snitch" and most
       officers in the squad no longer want to work with me.
         . Most of the members of the squad now avoid me,
       [a]nd when I need someone to go with me to interview an
       adult suspect, a witness, or a juvenile, my co-workers
       are just not available any more to go with me.     I have
       had to do several interviews of adult suspects alone,
       which is not how we typically do these interviews.    For
       safety reasons, we have always had two officers present
       when interviewing the adult suspects. 73

On April 24, 2017, Captain Angelo sent an email to the lieutenants

in   his   command,    including    plaintiff's    lieutenant,     Lieutenant

Colburn,    stating that "rece.nt issues" prompted him to send the

email asking them to

       share with your respective sergeants and officers that
       whenever an investigator requests a second officer to
       assist with an interview/interrogation of a suspect, they
       are expected to assist the primary investigator.
       Although there is nothing that I have found in our SOP's
       which requires two officers to interview/interrogate
       suspects, this decision is left up to the indivictual
       investigator.

       However, what is not acceptable is for someone to request
       assistance from their. fellow officer and they do not
       receive it. The overarching theme is the safety of our
       officers and not to put our personal differences ahead of
       our mission.    The work we do in S [pecial] V [ ictims]
       D[ivision]   is   too ·important    to   allow   whatever
       disagreements we may have with each other to take over
       and dictate who we will or will not help, and I cannot
       nor will not tolerate this behavior in SVD.           The
       overwhelming majority of our officers are doing what they


     73 Charge of Discrimination, pp. 2-3, Exhibit B to Defendant's
MSJ, Docket Entry No. 29-2, pp. 3-4.

                                     -43-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 44 of 50



     are supposed to, however, due to recent issues it has
     become necessary for me to put this directive out.74

Because Captain Angelo's April 24, 2017, email addresses an issue

that plaintiff raised in his March 31, 2017, EEOC charge, i.e., the

refusal of    his   co-workers   to accompany him       to   interviews     of

juveniles and adult suspects, an impartial jury could reasonably

infer that Captain Angelo knew about plaintiff's EEOC charge, and

the "recent issues" that prompted his April 24, 2017,             email was

plaintiff's filing of his EEOC charge less than a month earlier.

     The summary judgment record shows that after filing his EEOC

charge, plaintiff began seeing an HPD psychologist who on May 31,

2017, wrote a letter to Sergeant Alvarez, which was later shared

with Captain Angelo, recommending that plaintiff be placed on light

duty for 45 days.     The letter explained that

     [i]n the last several months [plaintiff] has continued to
     experience repeated exposure to chronic and pervasive
     stressors in his current work environment of which he has
     no control. As a result, Officer Gregg has begun to
     exhibit symptoms related to critical incident stress of
     which may have a significant impact on his occupational
     functioning.    Although Officer Gregg is capable and
     competent to conduct !his assigned work duties, his
     current affective and cognitive resources may be
     temporarily compromised, thereby having the potential to
     negatively impact his Jork productivity.75




      Exhibit 2, Attachment D to Plaintiff's Response, Docket Entry
     74

No. 32-4, p. 4.

      Letter to Sergeant Shandra White from Staff Psychologist,
     75

Meagan N. Houston, and Police Administrator, Stephen Tate, Exhibit
L to Defendant's MSJ, Docke\ Entry No. 29-12.

                                   -44-
      Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 45 of 50



Based        on    the   HPD     psychologist's       recommendation,     plaintiff's

supervisors;          Captain Angelo, Lieutenant           Colburn,      and    Sergeant

Alvarez, reduced his caseload for 45 days beginning in June of

2017. 76          Although the psychologist's letter              did not expressly


mention           plaintiff's protected activity, an impartial jury could

reasonably infer that Captain Angelo, Lieutenant Colburn,                              and

Sergeant Alvarez were well aware that the "chronic and pervasive

stressors in [plaintiff's] current work environment of which he has

no control," that prompted the psychologist to recommend a 45-day

period of light duty, referred to the retaliation that plaintiff

was experiencing from his c6-workers as a result of his protected

activity and that Captain Angelo addressed in his email of April

24, 2017.

        The summary judgment record also shows that on July 17, 2017,

Captain Angelo wrote an emafl to Ann Spiegel ("Spiegel") with the

HPD Chief's legal division isking that plaintiff be transferred "if

he cannot resume full duties                    and   a full   caseload    as    a   CSAU

investigator."77            On    August   4,    2017,   Captain    Angelo      sent   an

email to Spiegel stating that he �ad met with plaintiff because

the     end of        his   45-day    light      duty    status    was   approaching.

Captain Angelo wrote that

        76
      Letter to Sergeant Shandra White from Lieutenant John
Colburn, Exhibit M to Defendant's MSJ, Docket Entry No. 29-13.

       See July 17, 2017, Email from David Angelo, Exhibit 1,
        77
Attachment E, to Plaintiff� s Response, Docket Entry No. 32-2,
p. 11.

                                           -45-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 46 of 50



     [i]n the interest of [plaintiff] and the Department, I
     believe an expedited transfer from Special Victims
     Division is appropriate.      His reduced caseload is
     starting to effect his. fellow investigators where they
     are telling their supervisor that they are also
     "stressed", although it is more out of frustration from
     them carrying a full caseload.

     [Plaintiff] stated he would like to go to Juvenile
     Division, Crime Stoppers, or Vice Division. I told him
     to keep an eye out for job postings.

     Again, in the interest of both [the plaintiff] and SVD
     divisional operations, I am requesting [the plaintiff] be
     transferred from SVD sooner rather than later and he is
     on board with this decision. Please keep [me] apprised
     of any decisions made on this. 78

Captain Angelo's emails to. Spiegel make it clear that he wanted

plaintiff transferred not for plaintiff's benefit,             but for the
                               ;
benefit of his division because of the discord that resulted from

plaintiff's filing of his sexual harassment complaint.

     A declaration of plaintiff's counsel supported by copies of

emails exchanged between counsel for plaintiff and counsel for

defendant, dated August 7, August 14, and August 16, show that the

COH was willing to providing · plaintiff a transfer that would

alleviate the stress he wa;=, experiencing at CSAU,            but that in

exchange for such transfer, the COH wanted plaintiff to dismiss his

EEOC charge, which the plaintiff refused to do. 79


      August 4, 2017, Email from David Angelo to Ann Spiegel,
     78

Exhibit 1, Attachment E, to Plaintiff's Response, Docket Entry
No. 32-2, p. 11.

      See Declaration of Margaret A. Harris, Exhibit 3 to
     79

Plaintiff's Response, and Attachments A and B thereto (emails
between counsel for plaintiff and counsel for defendant dated
                                                (continued ... )
                                   -46-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 47 of 50




     On September 8, 2017, Captain Angelo and Lieutenant Colburn

presented plaintiff with a letter signed by Assistant Chief Dobbins

informing him that he was being involuntarily transferred to HPD's

Juvenile      Division    effected   September   9,   2017. 80     The      COH

acknowledges that although the transfer letter was signed by Chief

Dobbins,     that the transfer occurred "based on Captain Angelo's

recommendations in his August 4th email. " 81     In light of the summary

judgment record,         plaintift's involuntary transfer to       Juvenile

Intake, based on Captain Angelo's recommendation, less than one

month after plaintiff's courisel informed defendant's counsel that

he would not dismiss his EEOC charge in exchange for a transfer, is

sufficient to establish the causal connection needed to establish

a prima facie case of retaliation.



              (b)   The COH Fails to State Legitimate Non-Retaliatory
                    Reasons for Plaintiff's Involuntary Transfer

     The COH argues that "[p]laintiff's transfer to the Juvenile

division was for legitimate non-retaliatory reasons," because

     [o]n August 4, 2017, Plaintiff expressed his desire to
     transfer out of the Special Victims Division.


       ( ••• continued)
     79

August 7, August 14, and August 16, 2017), Docket Entry No. 32-5.
      Exhibit N to Defendant's MSJ, Docket Entry No. 29-14. See
     80

also September 8, 2017, Email from Angelo to Dobbins and Spiegel
informing them that plaintiff had received notice of trans£ er,
Exhibit 1, Attachment G, Docket Entry No. 32-2, p. 17.
     81
          Defendant's Reply, Docket Entry No. 38, p. 10.

                                     -47-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 48 of 50




     [Plaintiff] informed Captain Angelo that one of the
     divisions he wanted to transfer to was the Juvenile
     Division.      . Based on [plaintiff]'s desire to leave
     the Special Victims Division and the fact that the other
     investigators were feeling stressed out and frustrated
     due to the extra case load imposed on them as a result of
     [plaintiff]'s   light   duty   status,   Captain   Angelo
     recommended transferring [plaintiff] sooner rather than
     later. . . . Captain Angelo also noted that the time was
     opportune to transfer [plaintiff] because there was an
     active transfer list for the Special Victims Division
     from which they could select a replacement.       . After
     expressing his desire to transfer, [plaintiff] did not
     apply to transfer to any division. . . . Therefore, based
     on Captain Angelo's recommendations in his August 4th
     email, [plaintiff] was involuntarily transferred to the
     Juvenile Division. 82

Asserting that "Plaintiff does not refute          [its]   legitimate non­

retaliatory reasons.for the disputed employment actions," 83 and that

"Plaintiff fails to provide any evidence to refute Defendant's

position that the ratings, statistics and statements in the October

12, 2017 JPR are consistent with the performance observed during

the rating period," 84 the COH argues that

     Plaintiff cannot show that any of the legitimate non­
     retaliatory reasons proffered by the City are pretextual,
     nor can Plaintiff show,that there was another position
     within one of the divisions he desired that was
     available.    Instead, Plaintiff falsely claims that
     Captain Angelo relied on Plaintiff's light duty status as
     one reason for his transfer with the knowledge that
     Dr. Houston of HPD Psychological Services attributed
     Plaintiff's need for· light duty to the alleged
     retaliation he was experiencing.            This is pure
     fiction, as there is no communication from Dr. Houston



     82
          Defendant's MSJ, Docket Entry No. 29, p. 32.
     83
          Defendant's Reply, Docket Entry No. 3 8, p. 9.

     B4Id.
                                   -48-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 49 of 50




       that identifies Plaintiff's allegations of retaliation as
       the cause for her recommendation of light duty status. 85

       For the reasons explained in§ III.D.2(a) (2), above, pursuant

to which the court has already concluded that plaintiff has cited

evidence from which a reasonable jury could conclude that a causal

connection       exists     between   plaintiff's     protected   activity     of

complaining of sexual harassment and his involuntary transfer to

Juvenile Intake, the court concludes that a reasonable jury could

conclude that the COH's stated reasons for plaintiff's transfer are

not legitimate, non-retaliatory reasons but, are instead, reasons

that would not have existed but for plaintiff's protected activity

of filing complaints of sexual harassment.             Accordingly, the COH's

MSJ on plaintiff's retaliation claim will be denied.



                            IV.   Conclusions and Order

       For the reasons stated in§ III.B, above, the court concludes

that    the     COH   is    not   entitled   to   summary   judgment   based   on

limitations.          For the reasons stated in§ III.C, above, the court

concludes that the COH is not entitled to summary judgment on

plaintiff's claim for hostile work environment based on sex.                   For

the reasons stated in§ III.D, above, the court concludes that the

COH is not entitled to summary judgment on plaintiff's claim for




       85
            Id. at 10-11.

                                        -49-
   Case 4:18-cv-04822 Document 40 Filed on 02/05/21 in TXSD Page 50 of 50




retaliation.    Accordingly, Defendant's Motion for Summary Judgment,

Docket Entry No. 29, is DENIED.

     The court concludes that this          action is     appropriate       for

mediation.     If the parties are unable to settle this case within

the next thirty (30) days, they will provide the court with the

name and contact information of an agreed upon mediator, or request

that the court refer the case to Magistrate Judge Christina A.

Bryan for a settlement conference.

     SIGNED at Houston, Texas, on this                                 2021.




                                           SIM LAKE
                             SENIOR UNITED STATES DISTRICT JUDGE




                                   -50-
